EXHIBIT 3
jalelaats Appeals ne Teta Lay =a cs 222] te OLS Charters and Regents MAM atric ack een anes ao

 

Guidance Documents UCM TaLO RCA N Lalo yas

Decision No. 12,761

| Commissioner's Decisions ¥ il Search Decisions |

 

 

Appeal of ROY E. ALLEN II from action of the Board of Education of the East Irondequoit
Central School District regarding the conduct of a budget vote.

Decision No. 12,761
(uly 24, 1992)

Mousaw, Vigdor, Reeves, Heilbronner & Kroll, Esqs., attorneys for respondent, Dennis T. Barrett,
Esq., of counsel

SOBOL, Commissioner.--Petitioner appeals from the conduct of school district officials prior to a budget vote
held by the Board of Education of the East Irondequoit Central School District (‘respondent’) in June 1991.
The appeal must be sustained.

Petitioner is a resident of respondent's district and parent of a child attending respondent's elementary
school. On June 4, 1991, petitioner's son brought home three PTA campaign flyers regarding the school
budget vote and told his father that he should vote "yes" on propositions #1 and #2 while indicating the
candidates he should vote for in the election. When questioned by his father, the child explained that he had
ascertained the information from his teachers.

Petitioner alleges that the distribution of partisan materials on school property violates the State
Constitution's prohibition against gift giving, and loans of money or property to private individuals or
organizations (Article Vill, Section 1). Petitioner contends that students were improperly used by school
officials to exhort their positions on the budget vote. Petitioner requests that respondent, therefore, be
directed to prohibit the partisan use of school district resources. He also seeks a formal reprimand against
respondent for using students to promote partisan goals.

Respondent contends that it did not use students to promote a partisan position and alleges that the
communications to petitioner's son concerning the budget vote were made by an inexperienced teacher.
Moreover, respondent asserts that it specifically instructed its faculty on the prohibition against using school
resources to influence the voters. Respondent also contends that since the campaign flyers distributed to the
students were produced exclusively with PTA funds, they were not improper.

Although a board of education may provide informational material to the voters concerning a proposed
budget or proposition (Education Law '1716), the Court of Appeals held in Phillips v. Maurer, 67 NY 2d 672,
499 NYS2d 675, that school district funds may not be used to exhort the electorate to support a particular
position. Respondent's argument that the PTA simply conveyed information to the voters in the same
manner as a school board is authorized to do is without merit. One of the PTA flyers submitted by petitioner
specifically states "support the budget." Although another is primarily informational, the third, while arguably
informational, presents the possibility of a contingency budget in such a negative light, | find that it was
designed to solicit favorable votes. In any case, | find the flyer seeking support for the budget more than a
reminder to vote as respondent contends. Because it urges voters to vote a certain way, | find that the use of
district resources to distribute the flyer is unconstitutional (See Phillips, supra), Although | find that the
distribution of the PTA flyer under these circumstances is unconstitutional, nothing in this decision restricts
PTAs from using a school district's established means of communicating with parents for informational and
non-partisan purposes.

The record further indicates that although district funds were not used to print the PTA flyers, the flyers were
distributed on school grounds. Respondent argues further that because the PTA flyers were merely
distributed to the students on school grounds, there is no violation of the constitutional prohibition against
using public funds to exhort a partisan position. However, even the indirect support of a school board to
exhort a partisan position has been deemed improper (See Stern v. Kramarsky, 84 Misc. 2d 447, 375 NYS2d
235; Appeal of Weaver, 28 Ed Dept Rep 183). In this case, respondent's attempt to distance itself from the
flyers because it did not provide any funding to produce them is inadequate, when it nonetheless gave the
PTA access to its established chanhel of communication to parents to espouse a partisan position that the
board itself was prohibited from doing directly. As such, the board lent its imprimatur to the PTA's position
on the vote which | find improper.

Because the PTA flyer exhorts a partisan position and indirectly utilizes school district resources to impart
that message, respondent is directed to revise its policy on the use of the schoolhouse and grounds
pursuant to Education Law '414 to ensure that other parties are restricted in a manner that limits their
activities regarding elections to the same extent as the board of education, without affecting the established
non-partisan activities.

Although respondent states that both the superintendent and the building administrator advised teachers
that they were prohibited from partaking in any partisan activities vis-a-vis school elections, it provides no
evidence to support its claim. Because respondent has not provided sufficient evidence to support its claim
that it took the appropriate measures to avert such activities, respondent is admonished and directed to take
appropriate steps to ensure that the faculty is fully apprised of the prohibition against espousing to students
partisan positions on school related matters pending before the voters.

THE APPEAL IS SUSTAINED.

IT IS ORDERED that respondent amend its '414 policy concerning the use of the schoolhouse and its grounds
to prohibit the distribution of partisan literature in a manner consistent with this decision.

END OF FILE

 

Footie eee

NYSED General information: (518) 474-3852
ACCES-VR: 1-800-222-JOBS (5627)

_ TASC (formerly GED): (518) 474-5906
New York State Archives: (518) 474-6926
New York State Library: (518) 474-5355
New York State Museum: (518) 474-5877
Office of Higher Education: (518) 486-3633
Office of the Professions: (518) 474-3817

New York State Education
Building

 
89 Washington Avenue Bera ec ecient ere
rier Va eee So

© 2015 - 2017 New York State Education
Department

 
EXHIBIT 4
Home —— Appeals ~ Serving Legal Papers Charters and Regents ~ Commissioner's Consents ao

 

Guidance Documents Rules and Regulations

Decision No. 13,643

 

| Commissioner's Decisions ¥ | Search Decisions ,

 

Appeal of ELAINE NOLAN, AUDREY COOPER, MARIE DEVLIN and ANTHONY CAPPA from
action of the Board of Education of the Hempstead Union Free School District relating to
the use of school facilities.

Decision No. 13,643
(August 7, 1996)

Berkman, Henoch, Peterson & Peddy, P.C., attorneys for respondent, Gilbert Henoch, Esq., of
counsel

SHELDON, Acting Commissioner.--Petitioners appeal from certain policies and practices of the Board of
Education of the Hempstead Union Free School District ("respondent") regarding the use of school buildings.
The appeal must be dismissed.

To alleviate overcrowding in its district, respondent leased two buildings from the Roman Catholic Diocese of
Rockville Centre. The buildings were previously used as a convent and a Catholic school and are located on
the same block as a Roman Catholic church. Over the entrance to one of the buildings used for respondent's
early childhood center is a cross, approximately three feet tall, inscribed in masonry. Approximately 40 feet
away from that entrance, there is a flagpole with a cross attached to the top. Petitioners contend that these
religious symbols are constitutionally impermissible on facilities used to provide public instruction.

Petitioners also challenge respondent's policy regarding the use of its public school auditorium facilities by
certain groups for which donations may be solicited. Petitioners assert that aspects of that policy violate
Education Law '414, alleging that respondent permits commercial and religious organizations to use the
facilities and charge admission fees to benefit the organization in violation of statute. Petitioners request an
order barring the collection of funds by commercial and religious groups while using public school facilities
or directing that any funds collected be strictly accounted for and go to the exclusive use of the public school
children. Additionally, petitioners request that | direct that respondent's school facilities not be used for
propaganda, or dissemination of political or religious information.

Respondent denies that its policy violates Education Law '414 and asserts that the policy has been properly
applied.

Initially, | note that petitioners’ claims regarding the religious symbols on school grounds are moot. The
record indicates that the symbols have been covered or removed and are no longer visible to the public
school children in the leased facilities. The Commissioner of Education will not decide issues which
subsequent events have put to rest (Appeal of Goldin, 35 Ed Dept Rep 446).
With respect to the use of public school facilities within respondent's district, Education Law '414(1)(d)
provides in pertinent part:

The trustees or board of education of each district may, .... permit the use of the
schoolhouse and rooms therein, ... when not in use for school purposes... for any of the
following purposes: ... d) For meetings, entertainments and occasions where admission fees
are charged, when the proceeds thereof are to be expended for an educational or
charitable purpose; but such use shall not be permitted if such meetings, entertainments
and occasions are under the exclusive control, and the said proceeds are to be applied for
the benefit of a society, association or organization of a religious sect or denomination, or
of a fraternal, secret or exclusive society or organization ...

Petitioner contends that respondent permits its facilities to be used for events by commercial organizations
where the proceeds collected at such events are not expended for education or charitable purposes, but are
kept by the commercial organization. In response to that allegation, respondent submits its policy for the use
of school facilities which indicates that any organization seeking to use any of its facilities must submit, along
with its application, evidence of not-for-profit status. While respondent's policy permits an outside
organization to charge an admission fee during the use of school facilities, any such fees collected must be
used for educational or charitable purposes. Petitioners submit no evidence of any specific incident wherein
such policy was not followed.

Petitioners also contend that respondent has allowed religious groups to use the schoolhouse facilities for
occasions under the religious group's exclusive control and have not complied with the admissions fee
provision of Education Law '414(1)(d) in that some of the fees collected were not expended for educational or
charitable purposes but, instead, were kept for the benefit of the religious organization. However, petitioners
submit no evidence that any permitted use has been under the exclusive control of the organization holding
the event. To the contrary, respondent submits its guidelines for public use of Hempstead school facilities
which contain 13 parameters which appear to vest a large amount of control with respondent school district.

Moreover, even if the schoolhouse facility use was under the complete control of a religious organization,
petitioner has not established in the record that respondent failed to comply with the fee provisions of
Education Law '414(1)(d). In its answer, respondent submits a "use of facilities" application agreement that
must be completed by anyone wishing to use district facilities. On the application applicants must state how
the proceeds from the event will be used. With respect to the particular event challenged by petitioner, the
application submitted to respondent by the Church for the Art of Living, Inc. indicated that the facility would
be used for "a musical and speaking" and that donations would go, in part, to the Hempstead High School
Scholarship Fund. Petitioners claim that the proceeds from the event held by the church were not entirely
used for the benefit of the scholarship fund. However, respondent denies that allegation, and petitioners
submit no evidence to the contrary.

In an appeal to the Commissioner of Education, the petitioner has the burden of proof (Appeal of Pinckney,
35 Ed Dept Rep 461). Because petitioners have not substantiated their claims, they must be dismissed. There
is no evidence that respondent has not complied with the provisions of Education Law '414 in their entirety.
There is no evidence in the record that respondent has impermissibly permitted commercial use of its
facilities or that, where not-for-profit groups have held events on school premises, proceeds have been
applied in violation of Education Law '414(1)(d). In this instance, although the application indicates that the
proceeds would go “in part to the Hemplstead] High Scholarship Fund", respondent asserts that the
proceeds were applied for a charitable purpose, and petitioners submit no evidence that any of the proceeds
were applied improperly for any other purpose. Absent such proof, petitioners’ claims must be dismissed.

Finally, petitioners’ request for an order banning school use for propaganda/political/religious dissemination
must be denied. It is improper for a school district to ban the use of its facilities for permitted topics merely
because the presentation would be from a religious perspective (Lamb's Chapel v Center Moriches Union

 
Free School District, 113 S. Ct. 2141 [1993]). Furthermore, mere controversy is not a permissible basis for the
denial of access to a designated or limited public forum (Iravis v Owego-Apalachin School District, 927 F2d
688 [2nd Cir. 1991)). It is clear that respondent district has generally allowed the use of its facilities for public
speech and for the public discussion of a variety of issues. To bar the discussion of issues deemed by some
members of the community as propaganda, political or religious is impermissible.

 

THIS APPEAL MUST BE DISMISSED.

END OF FILE

 

a a i . CONTACT US @
NYSED General eee en rey] i betcha
F oa AACCES-VR: 1-800-22

Metehy

| Tee eee)
Ne var : te. Museum: (518) 474-5877

New York State rete onn
Building arr pres
ethics AOL pete aoe ete ear
Albany, NY 12234

Office of!

© 2015 - 2017 New York State Education
Department

 
